









Dismissed and Memorandum Opinion filed May 5, 2005









Dismissed and Memorandum Opinion filed May 5, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00156-CV

____________

&nbsp;

WILLIAM MAVERICK SHAW,
Appellant

&nbsp;

V.

&nbsp;

TEXAS DEPARTMENT OF CRIMINAL
JUSTICE, Appellee

&nbsp;



&nbsp;

On Appeal from the 165th District
Court

Harris County, Texas

Trial Court Cause No. 02-50327

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed January 17,
2005.&nbsp; The notice of appeal was filed on
February 4, 2005.&nbsp; To date, our records
show that appellant has neither established indigence nor&nbsp; paid the $125.00 appellate filing fee.&nbsp; See Tex.
R. App. P. 5 (requiring payment of fees in civil cases unless indigent);
Tex. R. App. P. 20.1 (listing requirements for establishing indigence); see also Order Regarding Fees Charged in Civil Cases in the Supreme Court
and the Courts of Appeals, Misc. Docket No. 98-9120 (Tex. Jul. 21, 1998)
(listing fees in court of appeals); Tex.
Gov=t Code Ann. ' 51.207 (Vernon Supp.2004-05) (same). 








After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp;
Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c) (allowing involuntary dismissal of case because appellant has failed to comply
with notice from clerk requiring response or other action within specified
time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 5, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

&nbsp;





